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 3                                                                   U.S. DISTRICT COURT


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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                                 Case No. 23-MJ-4300
        UNITED STATES OF AMERICA,
13                                                 ORDER OF DETENTION
                        Plaintiff,
14                                                 [Fed. R. Crim. P. 32.1(a)(6);
                        v.                         18 U.S.C. §§ 3143(a)(1), 3148(b]
15
        JERLAN HORTON,
16 ,
                      Defendant.
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18
19
20                                               I.
21           On August 22, 2023, Defendant Jerlan Horton made his initial appearance in
22     this district following his arrest on the petition for revocation of supervised release
23     and warrant for arrest issued in the Western District of Kentucky on November 9,
24     2021. Michael Chernis, a member of the Indigent Defense Panel, was appointed to
25     represent Defendant. The government was represented by Assistant U.S. Attorney
26     Alexander Gorin. A detention hearing was held.
27                                                    II.
28
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  1            Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C. §

  2      3143(a) following Defendant's arrest for alleged violations) of the terms of

  3      Defendant's ❑probation / ~ supervised release,

  4            The Court finds that

  5            A.      D       Defendant has not carried his burden of establishing by clear

  6      and convincing evidence that Defendant will appear for further proceedings as

  7      required if released [18 U.S.C. § 3142(b-c)]. This finding is based on:

  8                 ~ allegations in the petition: while on supervised release, Defendant

  9                 was charged with aggravated assault on a police officer when, on

10                  November 3, 2021, he refused to comply with law enforcement

11                  instructions to stop his vehicle and instead gave chase, hitting police cars

12                  multiple times in an attempt to evade the police. Defendant's

13                  whereabouts have been unknown since that date and he has failed to

14                  report to his probation officer as required under the terms of his

15                  supervised release. In addition to the outstanding warrant for his arrest

16                  based on this incident,(issued on November 9, 2021), Defendant was

17                  also indicted on a separate drug for which he faces another outstanding

18                  warrant.

19                  ~ unstable residential history —defendant has been living in AirBNBs

20                  since his arrival in Los Angeles for the past month.

21                  ~ prior violations of supervised release

22                  ~ At the time of his arrest, Defendant refused to leave his residence and

23                  took two hours to surrender to law enforcement authorities.

24
25             B.      ~       Defendant has not carried his burden of establishing by clear

26 ~           and convincing evidence that Defendant will not endanger the safety of any

27             other person or the community if released [18 U.S.C. § 3142(b-c)]. This

28 'I~         finding is based on:
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 1             ~ criminal history includes numerous convictions and citations for

 2             narcotics related offenses, receiving stolen property, and felon in

 3             possession of a firearm.

 4             ~ allegations in the petition (see above)

 5             ~ associated gang monikers

 6
 7         Defendant sought release on a $30,000 cash bond to be posted by the

 8   defendant's mother who would also serve as a surety and third party custodian.

 9   However, the Court is not inclined to permit a third party custodian to also serve as

10   a surety and in any event, does not believe that a $30,000 cash bond will be

11   sufficient to assure Defendant's appearance at future court appearances, given the

12   allegations in the petition and the Defendant's criminal history.

13
14                                          III.

15         IT IS THEREFORE ORDERED that the defendant is remanded to the custody

16   of the U.S. Marshal to be removed to the Western District of Kentucky.

17         The Court directs government counsel to follow up with government counsel

18   in the charging district re~a   g Defendant's next scheduled date, and provide this

19          information to DFPD Chu in order to monitor the status of defendant's

20   transportation to, and arrival in, the char~g district for his next appearance.

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     Dated: August 22, 2023
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                                                     /s/
25                                               ALKA SAGAR
                                            UNITED STATES MAGISTRATE JUDGE
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